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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9   MIDVALE INDEMNITY COMPANY, a                       NO.
     Wisconsin corporation,
10                                                       COMPLAINT FOR DECLARATORY
                     Plaintiff,                          JUDGMENT
11

12           v.

13   VIETNAMESE TODAY NEWS, LLC, a
     Washington Limited Liability Company d/b/a
14   NGUOI VIET NGAY NAY; TRI KIEN PHAM,
     a Washington Resident; QUAN HA, a
15   Washington Resident; SANG THI NGUYEN, a
     Washington Resident; SANDRA LINH BUI, a
16
     Washington Resident; and JESSE ROBBINS, a
17   Washington Resident,

18                   Defendants.

19
20                                           I.      PARTIES
21           1.      Plaintiff Midvale Indemnity Company (“Midvale”) is a Wisconsin corporation with
22   its principal place of business in Wisconsin.
23           2.      Upon information and belief, Defendant Vietnamese Today News, LLC, is a
24   Washington Limited Liability Company that does business under the name “Nguoi Viet Ngay
25   Nay” (“VTN”).

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 1           3.      Upon information and belief, Defendant Tri Kien Pham (“Pham”) is a person that
 2   resides in King County, Washington.
 3           4.      Upon information and belief, Defendant Quan Ha (“Ha”) is a person that resides in
 4   King County, Washington.
 5           5.      Upon information and belief, Defendant Sang Thi Nguyen (“Nguyen”) is a person
 6   that resides in King County, Washington.
 7           6.      Upon information and belief, Defendant Sandra Linh Bui (“Bui”) is a person that
 8   resides in King County, Washington.
 9           7.      VTN, Pham, Ha, Nguyen, and Bui are referred to hereinafter individually as an
10   “Underlying Defendant” and collectively as the “Underlying Defendants.”
11           8.      Upon information and belief, Defendant Jesse Robbins (“Underlying Claimant”) is
12   a person that resides in King County, Washington.
13                                II.     VENUE AND JURISDICTION

14           9.      The U.S. District Court in the Western District of Washington has jurisdiction

15   pursuant to 28 U.S.C. § 1332. There is complete diversity between Midvale and each of the

16   Defendants, and based on information and belief, the amount in controversy exceeds $75,000,

17   exclusive of costs and interest.

18           10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as a substantial part

19   of the events giving rise to the claim occurred in King County, Washington.

20                                             III.    FACTS

21   A.      The Underlying Lawsuit

22           11.     On or about April 16, 2021, the Underlying Claimant filed a “Complaint for

23   Damages” against the Underlying Defendants captioned as Jesse Robbins v. Vietnamese News

24   Today, et al., State of Washington, King County Superior Court Case No. 21-2-05104-5 SEA (the

25   “Underlying Lawsuit”).

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 1           12.     Midvale was not informed about the Underlying Lawsuit until early June 2021.
 2   Attached hereto as Exhibit A is a copy of the Complaint filed in the Underlying Lawsuit.
 3           13.     In the Underlying Lawsuit, the Underlying Claimant alleges that he attended a
 4   political rally in Seattle on October 17, 2020 (“Rally”).
 5           14.     The Underlying Claimant alleges that the Rally was organized in support of then-
 6   president Donald Trump and other political candidates.
 7           15.     The Underlying Claimant alleges that he attended the Rally as a single counter-
 8   protestor.
 9           16.     The Underlying Claimant alleges that he held anti-Trump signs while remaining

10   approximately 20 feet from the Rally.

11           17.     The Underlying Claimant alleges that he did not initiate conversations with any

12   other attendees of the Rally and did not physically approach anyone.

13           18.     The Underlying Claimant alleges that within two minutes of his arrival, multiple

14   Rally attendees approached him, entered his personal space, and attempted to use flags and their

15   own bodies to obstruct him and his sign from view.

16           19.     The Underlying Claimant alleges that this activity by other Rally attendees

17   continued despite the Underlying Claimant’s efforts to separate himself from these individuals.

18           20.     The Underlying Claimant alleges that he was physically shoved on at least two

19   occasions, was placed into a chokehold, and was assaulted while on the ground.

20           21.     The Underlying Claimant alleges that nonparty William Do “purposefully caused

21   physical contact with [him] by shoving his shoulder into him, causing [Underlying Claimant] to

22   feel that his personal safety was in danger and ultimately causing [Underlying Claimant] to use

23   physical force to defend himself against Mr. Do.”

24
25

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 1            22.    The Underlying Claimant alleges that other unnamed individuals at the Rally

 2   chased him, placed him into a rear-naked chokehold, and that once he was on the ground, the

 3   Underlying Claimant was kicked, stomped on, and hit with flag poles.
 4            23.    The Underlying Claimant alleges that the assault took place until an unnamed
 5   person stated that the police were called.
 6            24.    The Underlying Claimant alleges that the police arrived, took statements, and
 7   escorted him from the scene.
 8            25.    Upon information or belief, the Underling Claimant does not allege that any of the
 9   Underlying Defendants engaged in the physical altercation that occurred between Rally attendees

10   and the Underlying Claimant as alleged in the Underlying Lawsuit.

11            26.    The Underlying Claimant alleges that, during the evening after the Rally, he

12   discovered that VTN and/or Pham had published two articles about the altercation at the Rally in

13   its newspaper and on its website.

14            27.    The Underlying Claimant alleges that Pham was involved in the organization of the

15   Rally.

16            28.    The Underlying Claimant alleges that VTN and/or Pham allegedly wrote that the

17   Underlying Claimant instigated the altercation with other attendees at the Rally, which the

18   Underlying Claimant denies.

19            29.    The Underlying Claimant alleges that VTN and/or Pham stated that the Underlying

20   Claimant was brainwashed to protest the Rally at the behest of the Vietnamese government and

21   local communist sympathizers.

22            30.    The Underlying Claimant alleges that since the articles’ publication he fears for his

23   safety and fears that his family’s livelihood has been harmed as a result.

24            31.    The Underlying Claimant claims that he suffered substantial mental and emotional

25   distress from the articles’ publication.

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 1           32.     The Underlying Lawsuit contains the following causes of action: (1) defamation;

 2   (2) defamation per se; (3) false light; (4) outrage; (5) intentional infliction of emotional distress;

 3   (6) negligence; and (7) civil conspiracy.
 4           33.     The Underlying Lawsuit seeks an award of monetary damages as allowed by law;
 5   pre- and post-judgment interest; attorneys’ fees; court costs; and injunctive relief, including a
 6   public retraction.
 7   B.      The Midvale Policy
 8           34.     Midvale issued a Businessowners’ Policy No. BPP1044991 for the period of June
 9   1, 2020 through June 1, 2021 (the “Policy”). Attached as Exhibit B is a copy of the Policy.

10           35.     The Policy has a named insured of “Nguoi Viet Ngay Nay.”

11           36.     There are no other named insureds identified in the Policy.

12           37.     The Policy provides business liability coverage, according to its terms and

13   conditions, with limits of coverage up to $1,000,000 per occurrence and $2,000,000 in the

14   aggregate.

15           38.     The liability coverage portion of the Policy is contained in form BP 00 03 07 13,

16   which provides, in relevant part, as follows:

17                   SECTION II – LIABILITY

18                   A. Coverages

19                        1.   Business Liability

20                             a. We will pay those sums that the insured becomes legally
                                  obligated to pay as damages because of "bodily injury",
21                                "property damage" or "personal and advertising injury"
                                  to which this insurance applies. We will have the right
22                                and duty to defend the insured against any "suit" seeking
                                  those damages. However, we will have no duty to defend
23                                the insured against any "suit" seeking damages for
                                  "bodily injury", "property damage" or "personal and
24                                advertising injury" to which this insurance does not
                                  apply. We may, at our discretion, investigate any
25                                "occurrence" or any offense and settle any claim or "suit"
                                  that may result. But:
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 1
                                    (1) The amount we will pay for damages is limited as
 2                                      described in Paragraph D. Liability And Medical
                                        Expenses Limits Of Insurance in Section II –
 3                                      Liability; and
 4                                  (2) Our right and duty to defend end when we have used
                                        up the applicable Limit of Insurance in the payment
 5                                      of judgments or settlements or medical expenses.
 6                                  No other obligation or liability to pay sums or perform
                                    acts or services is covered unless explicitly provided for
 7                                  under Paragraph f. Coverage Extension – Supplementary
                                    Payments.
 8
                               b.   This insurance applies:
 9
                                    (1) To "bodily injury" and "property damage" only if:
10
                                       (a) The "bodily injury" or "property damage" is
11                                         caused by an "occurrence" that takes place in the
                                           "coverage territory";
12
                                       (b) The "bodily injury" or "property damage" occurs
13                                         during the policy period;
                                           […]
14
                                    (2) To "personal and advertising injury" caused by an
15                                      offense arising out of your business, but only if the
                                        offense was committed in the "coverage territory"
16                                      during the policy period.
                                        […]
17
             39.     The Policy contains certain exclusions to the liability coverage, which are also
18
     contained in form BP 00 03 07 13, which provides, in relevant part, as follows:
19
                     B.    Exclusions
20
                          1.   Applicable to Business Liability Coverage
21
                               This insurance does not apply to:
22
                               a. Expected Or Intended Injury
23
                                    "Bodily injury" or "property damage" expected or
24                                  intended from the standpoint of the insured. This
                                    exclusion does not apply to "bodily injury" resulting
25                                  from the use of reasonable force to protect persons or
                                    property.
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 1                                  […]
 2                             p.   Personal And Advertising Injury
 3                                  "Personal and advertising injury":
 4                                  (1) Caused by or at the direction of the insured with the
                                        knowledge that the act would violate the rights of
 5                                      another and would inflict "personal and advertising
                                        injury";
 6
                                    (2) Arising out of oral or written publication, in any
 7                                      manner, of material, if done by or at the direction of
                                        the insured with knowledge of its falsity;
 8                                      […]
 9                                  (8) Committed by an insured whose business is:
10                                     (a) Advertising,     broadcasting,    publishing       or
                                           telecasting;
11
                                       (b) Designing or determining content of web sites
12                                         for others;
                                           […]
13
                                       However, this exclusion does not apply to
14                                     Paragraphs 14.a., b. and c. of “personal and
                                       advertising injury” under Paragraph F. Liability and
15                                     Medical Expenses Definitions.

16                                     For the purposes of this exclusion, the placing of
                                       frames, borders or links, or advertising, for you or
17                                     others anywhere on the Internet, by itself, is not
                                       considered the business of advertising, broadcasting,
18                                     publishing or telecasting
                                       […]
19
                                    (11) Arising out of an electronic chatroom or bulletin
20                                      board the insured hosts, owns or over which the
                                        insured exercises control.
21                                      […]

22           40.     The Policy contains the following provision regarding who qualifies as an insured:

23                   C.    Who Is An Insured

24                        1.   If you are designated in the Declarations as:

25

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 1                           a. An individual, you and your spouse are insureds, but
                                only with respect to the conduct of a business of which
 2                              you are the sole owner.
 3                           b. A partnership or joint venture, you are an insured. Your
                                members, your partners and their spouses are also
 4                              insureds, but only with respect to the conduct of your
                                business.
 5
                             c. A limited liability company, you are an insured. Your
 6                              members are also insureds, but only with respect to the
                                conduct of your business. Your managers are insureds,
 7                              but only with respect to their duties as your managers.
 8                           d. An organization other than a partnership, joint venture
                                or limited liability company, you are an insured. Your
 9                              "executive officers" and directors are insureds, but only
                                with respect to their duties as your officers or directors.
10                              Your stockholders are also insureds, but only with
                                respect to their liability as stockholders.
11
                             e. A trust, you are an insured. Your trustees are also
12                              insureds, but only with respect to their duties as trustees.
13                      2.   Each of the following is also an insured:

14                           a. Your "volunteer workers" only while performing duties
                                related to the conduct of your business, or your
15                              "employees", other than either your "executive officers"
                                (if you are an organization other than a partnership, joint
16                              venture or limited liability company) or your managers
                                (if you are a limited liability company), but only for acts
17                              within the scope of their employment by you or while
                                performing duties related to the conduct of your
18                              business…
                                […]
19
             41.     The Policy contains definitions of certain terms as follows:
20
                        F. Liability and Medical Expenses Definitions
21                         […]

22                      3.    "Bodily injury" means bodily injury, sickness or disease
                             sustained by a person, including death resulting from any of
23                           these at any time.

24                      4. “Coverage territory” means:

25                           a. The United States of America […]

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 1                      5. "Employee" includes a "leased worker". "Employee" does
                           not include a "temporary worker".
 2
                        6. "Executive officer" means a person holding any of the officer
 3                          positions created by your charter, constitution, bylaws or any
                            other similar governing document.
 4                          […]
 5                      13. "Occurrence" means an accident, including continuous or
                            repeated exposure to substantially the same general harmful
 6                          conditions.
 7                      14. "Personal and advertising injury" means injury, including
                            consequential "bodily injury", arising out of one or more of
 8                          the following offenses:
                            […]
 9
                            d. Oral or written publication, in any manner, of material
10                             that slanders or libels a person or organization or
                               disparages a person's or organization's goods, products
11                             or services;
12                          e. Oral or written publication, in any manner, of material
                               that violates a person's right of privacy;
13                             […]

14                      17. “Property damage" means:

15                          a. Physical injury to tangible property, including all
                               resulting loss of use of that property. All such loss of use
16                             shall be deemed to occur at the time of the physical
                               injury that caused it; or
17
                            b. Loss of use of tangible property that is not physically
18                             injured. All such loss of use shall be deemed to occur at
                               the time of the "occurrence" that caused it.
19                             […]

20                      20. "Volunteer worker" means a person who is not your
                           "employee", and who donates his or her work and acts at the
21                         direction of and within the scope of duties determined by
                           you, and is not paid a fee, salary or other compensation by
22                         you or anyone else for their work performed for you.
                           […]
23
             42.     The Policy contains the following provision regarding limits of insurance:
24
                     D. Liability And Medical Expenses Limits Of Insurance
25

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 1                       1. The Limits of Insurance of Section II – Liability shown in
                            the Declarations and the rules below fix the most we will pay
 2                          regardless of the number of:
 3                          a. Insureds;
 4                          b. Claims made or "suits" brought; or
 5                          c. Persons or organizations making claims or bringing
                               "suits".
 6
                         2. The most we will pay for the sum of all damages because of
 7                          all:
 8                          a. "Bodily injury", "property damage" and medical
                               expenses arising out of any one "occurrence"; and
 9
                            b. "Personal and advertising injury" sustained by any one
10                             person or organization;
11                              is the Liability and Medical Expenses limit shown in the
                                Declarations. But the most we will pay for all medical
12                              expenses because of "bodily injury" sustained by any
                                one person is the Medical Expenses limit shown in the
13                              Declarations.
                                […]
14
                         4. Aggregate Limits
15
                            The most we will pay for:
16
                            a. All "bodily injury" and "property damage" that is
17                             included in the "products-completed operations hazard"
                               is twice the Liability and Medical Expenses limit.
18
                            b. All:
19
                                (1) "Bodily injury" and "property damage" except
20                                  damages because of "bodily injury" or "property
                                    damage" included in
21                                  the "products-completed operations hazard";

22                              (2) Plus medical expenses;

23                              (3) Plus all "personal and advertising injury" caused by
                                    offenses committed; is twice the Liability and
24                                  Medical Expenses limit.
                                    […]
25

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 1                           The Limits of Insurance of Section II – Liability apply
                             separately to each consecutive annual period and to any
 2                           remaining period of less than 12 months, starting with the
                             beginning of the policy period shown in the Declarations,
 3                           unless the policy period is extended after issuance for an
                             additional period of less than 12 months. In that case, the
 4                           additional period will be deemed part of the last preceding
                             period for purposes of determining the Limits of Insurance.
 5                           […]
 6           43.      The Policy contains the following provision, via endorsement Form BP 06 12 11
 7   13, regarding reimbursement of defense costs:
 8                       Washington Changes – Defense Costs
 9                       This endorsement modifies insurance provided under the
                         following:
10
                         BUSINESSOWNERS COVERAGE FORM
11
                         The following applies to any provision in this Policy, or in any
12                       endorsement attached to this Policy, that sets forth a duty to
                         defend:
13
                         If we initially defend an insured or pay for an insured's defense
14                       but later determine that none of the claims, for which we
                         provided a defense or defense costs, are covered under this
15                       insurance, we have the right to reimbursement for the defense
                         costs we have incurred.
16
                         The right to reimbursement under this provision will only apply
17                       to the costs we have incurred after we notify you in writing that
                         there may not be coverage and that we are reserving our rights
18                       to terminate the defense or the payment of defense costs and to
                         seek reimbursement for defense costs
19
     C.      Midvale Agreed to Defend Underlying Defendants Under a Full Reservation of
20           Rights

21           44.      The Underlying Lawsuit was tendered to Midvale in early June 2021.

22           45.      Prior to August 17, 2021, Midvale had retained defense counsel for the Underlying

23   Defendants under a reservation of rights, as reflected in Midvale’s letter dated September 9, 2021.

24   Attached as Exhibit C is a copy of Midvale’s reservation of right letter.

25

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 1                 IV.      FIRST CAUSE OF ACTION: DECLARATORY JUDGMENT
                                        WHO IS AN INSURED
 2
             46.         Midvale realleges each of the allegations contained in Paragraphs 1 through 45 as
 3
     if fully set forth herein.
 4
             47.         The “Who Is an Insured” section of the Policy identifies the individuals and entities
 5
     that may qualify as an insured under the Policy.
 6
             48.         VTN qualifies as an “insured” under the Policy because the Lawsuit alleges that
 7
     VTN does business as Nguoi Viet Ngay Nay, which is the named insured on the Policy.
 8
             49.         Pham qualifies as an insured under the Policy to the extent the claims against him
 9
     in the Underlying Lawsuit arise out of his duties as the corporate manager of VTN.
10
             50.         The Underlying Lawsuit contains no allegations as to the relationship, if any,
11
     between VTN and Defendants Ha, Nguyen, and Bui.
12
             51.         Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
13
     declaratory judgment that Defendants Ha, Nguyen, and Bui do not qualify as insureds under the
14
     Policy, and as such, Midvale owes no duty to defend and/or indemnify them with regards to the
15
     Underlying Lawsuit.
16
                  V.       SECOND CAUSE OF ACTION: DECLARATORY JUDGMENT
17                                      “BODILY INJURY”
18
             52.         Midvale realleges each of the allegations contained in Paragraphs 1 through 51 as
19
     if fully set forth herein.
20
             53.         The Policy defines “bodily injury” as “bodily injury, sickness or disease sustained
21
     by a person, including death resulting from any of these at any time.”
22
             54.         The Underlying Claimant alleges a physical altercation occurred at the Rally.
23
             55.         The Underlying Claimant does not allege that any of the Underlying Defendants
24
     were involved in the physical altercation at the Rally.
25

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 1           56.         The Underlying Claimant’s allegations against the Underlying Defendants arise
 2   from the publication of the articles after the Rally.
 3           57.         The Underlying Claimant alleges that he suffered substantial mental and emotional
 4   distress from the articles’ publication.
 5           58.         The Underlying Claimant does not allege any bodily injury, sickness or disease as
 6   a result of the articles’ publication.
 7           59.         Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
 8   declaratory judgment that it owes no duty to defend and/or indemnify any of the Underlying
 9   Defendants in the Underlying Lawsuit because there is no “bodily injury” alleged.
10                 VI.      THIRD CAUSE OF ACTION: DECLARATORY JUDGMENT
                                      “PROPERTY DAMAGE”
11
             60.         Midvale realleges each of the allegations contained in Paragraphs 1 through 59 as
12
     if fully set forth herein.
13
             61.         The Policy defines “property damage” as “physical injury to tangible property...”
14
     or “loss of use of tangible property that is not physically injured.”
15
             62.         The Underlying Claimant does not allege any physical injury to tangible property
16
     or loss of use in the Underlying Lawsuit.
17
             63.         Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
18
     declaratory judgment that it owes no duty to defend and/or indemnify any of the Underlying
19
     Defendants in the Underlying Lawsuit because there is no “property damage” alleged.
20
                  VII.     FOURTH CAUSE OF ACTION: DECLARATORY JUDGMENT
21                                      “OCCURRENCE”
22
             64.         Midvale realleges each of the allegations contained in Paragraphs 1 through 63 as
23
     if fully set forth herein.
24
             65.         The Policy defines an “occurrence” as an “accident.”
25

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 1           66.      While the Underlying Lawsuit includes allegations of “negligent” conduct and
 2   contains a cause of action for negligence, it also alleges that the Underlying Defendants engaged
 3   in “intentional” conduct.
 4           67.      The Underlying Lawsuit also contains causes of action that are based on intentional
 5   conduct, including without limitation, outrage, intentional infliction of emotional distress, and civil
 6   conspiracy.
 7           68.      Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
 8   declaratory judgment that it owes no duty to defend and/or indemnify any of the Underlying
 9   Defendants in the Underlying Lawsuit for any causes of action that do not arise out of an
10   “occurrence” under the Policy.
11                 VIII. FIFTH CAUSE OF ACTION: DECLARATORY JUDGMENT
                            “PERSONAL AND ADVERTISING INJURY”
12
             69.      Midvale realleges each of the allegations contained in Paragraphs 1 through 68 as
13
     if fully set forth herein.
14
             70.      The Policy provides coverage for “personal and advertising injury,” which is
15
     defined as: (1) injury, including consequential “bodily injury,” arising out of oral or written
16
     publication, in any manner, of material that slanders or libels a person or organization or disparages
17
     a person's or organization's goods, products or services; or (2) oral or written publication, in any
18
     manner, of material that violates a person's right of privacy.
19
             71.      While the allegations regarding publication of the articles may fall within the
20
     definition of “personal and advertising injury,” the Policy also contains exclusions for “personal
21
     or advertising injury” that: (1) was “[c]aused by or at the direction of the insured with the
22
     knowledge that the act would violate the rights of another and would inflict ‘personal and
23
     advertising injury;’” (2) “[a]ris[es] out of oral or written publication, in any manner, of material,
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 1   if done by or at the direction of the insured with knowledge of its falsity;” or (3) were “[c]ommitted
 2   by an insured whose business is: (a) Advertising, broadcasting, publishing or telecasting.”
 3           72.         The Underlying Lawsuit alleges that VTN is a newspaper that publishes articles in
 4   physical print and on its website.
 5           73.         Upon information and belief, VTN’s business is publishing and/or advertising.
 6           74.         Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
 7   declaratory judgment that it owes no duty to defend and/or indemnify any of the Underlying
 8   Defendants in the Underlying Lawsuit for any causes of action for conduct that do not allege
 9   “personal and advertising injury” or that are otherwise excluded from coverage under the above-
10   referenced exclusions relating to any alleged “personal and advertising injury.”
11                 IX.      SIXTH CAUSE OF ACTION: DECLARATORY JUDGMENT
                             EXPECTED OR INTENDED INJURY EXCLUSION
12
             75.         Midvale realleges each of the allegations contained in Paragraphs 1 through 74 as
13
     if set forth fully herein.
14
             76.         The Policy precludes coverage for damage or injury that is expected or intended by
15
     the “insured.”
16
             77.         The Underlying Lawsuit alleges that the Underlying Defendants intentionally
17
     inflicted emotional distress on the Underlying Claimant.
18
             78.         Based on the allegations in the Underlying Lawsuit, Midvale is entitled to
19
     declaratory judgment that it owes no duty to defend and/or indemnify any of the Underlying
20
     Defendants in the Underlying Lawsuit for any cause(s) of action that fall under the above
21
     exclusion.
22
23
24
25

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 1    X.          SEVENTH CAUSE OF ACTION: DECLARATORY JUDGMENT/AWARD OF
                                     ATTORNEY FEES
 2                           DEFENSE COST REIMBURSEMENT

 3           79.      Midvale realleges each of the allegations contained in Paragraphs 1 through 78 as

 4   if set forth fully herein.

 5           80.      The Policy contains a provision that provides Midvale with the right to

 6   reimbursement of defense costs that it incurs in the defense of the Underlying Defendants if

 7   Midvale initially defends a claim and it is later determined that none of the claims were covered

 8   by the Policy.

 9           81.      The Policy provides that this right to reimbursement applies to the costs Midvale

10   incurs after it notifies the Underlying Defendants that it will defend them under a reservation of

11   rights to terminate the defense or the payment of defense costs and to seek reimbursement for

12   defense costs.

13           82.      Midvale agreed to defend the Underlying Defendants in the Underlying Lawsuit

14   under a reservation of rights.

15           83.      Midvale issued a reservation of rights letter to the Underlying Defendants on

16   September 9, 2021.

17           84.      In the event that the Court finds that Midvale owes no duty to defend the

18   Underlying Defendants in the Underlying Lawsuit, Midvale is entitled to declaratory judgment

19   that it has the right to seek reimbursement of all defense costs incurred after September 9, 2021

20   under the Policy, and is entitled to an entry of such an award and judgment against the Underlying

21   Defendants.

22           85.      A justiciable controversy exists between Midvale and the Defendants with regard

23   to defense and indemnity coverage to the Underlying Defendants under the Policy for the claims

24   alleged in the Underlying Lawsuit.

25

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 1                                     XI.    PRAYER FOR RELIEF
 2           Midvale prays for the following relief:
 3           1.       Declaratory judgment that it owes no duty to defend and/or indemnify any of the
 4   Underlying Defendants from the claims alleged in the Underlying Lawsuit under one or more of
 5   the Counts alleged therein;
 6           2.       For attorneys’ fees and costs allowed by statute and/or applicable law; and
 7           3.       Such other and further relief as the Court deems just and equitable.
 8           DATED this 10th day of November, 2021.
 9                                                       s/ Eliot M. Harris
                                                         Eliot M. Harris, WSBA # 36590
10                                                       s/ Miles J. M. Stewart
                                                         Miles J. M. Stewart, WSBA # 46067
11
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15

16                                                       Attorneys for Plaintiff Midvale Indemnity
                                                         Company
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